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 Fill in this information to identify your case:

 Debtor 1                     Thomas Kutrubes
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                    Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?                                          $ $71,231.93
              American Express
              PO Box 630001                                          As of the date you file, the claim is: Check all that apply
              Dallas, TX 75363-0001                                          Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $


 2                                                                   What is the nature of the claim?                                          $ $27,744.22
              American Express
              PO Box 650448                                          As of the date you file, the claim is: Check all that apply
              Dallas, TX 75265                                               Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
              Contact phone                                                         Unsecured claim                                   $

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 1

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 Debtor 1          Thomas Kutrubes                                                                  Case number (if known)




 3                                                                   What is the nature of the claim?                                          $ $21,101.21
            American Express
            PO Box 650448                                            As of the date you file, the claim is: Check all that apply
            Dallas, TX 75265                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?                                          $ $2,048,180.50
            Atlas Biologicals, Inc
            2649 E. Mulberry Street                                  As of the date you file, the claim is: Check all that apply
            Fort Collins, CO 80525                                           Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?              Legal Fees appointed / $ $308,554.50
                                                                                                                   granted
            Atlas Biologicals, Inc
            2649 E. Mulberry Street                                  As of the date you file, the claim is: Check all that apply
            Fort Collins, CO 80525                                           Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?                                          $ $2,139.70
            Bank of Colorado
            1609 E. Harmony Road                                     As of the date you file, the claim is: Check all that apply
            Fort Collins, CO 80525                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




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 Debtor 1          Thomas Kutrubes                                                                  Case number (if known)

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?                                          $ $7,214.99
            Chase
            PO Box 15123                                             As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                          $ $55,000.00
            Chase Business
            PO Box 15123                                             As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?                                          $ $700,270.88
            Jim and Susan Kutrubes
            5838 Northern Lights                                     As of the date you file, the claim is: Check all that apply
            Fort Collins, CO 80528                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.




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 Debtor 1          Thomas Kutrubes                                                                  Case number (if known)

 X     /s/ Thomas Kutrubes                                                              X
       Thomas Kutrubes                                                                      Signature of Debtor 2
       Signature of Debtor 1


       Date      December 30, 2020                                                          Date




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